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                                                                                              E-FILED
                                                                    Tuesday, 25 May, 2021 02:25:30 PM
                                                                         Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )      Case No. 20-CR-20025-01
                                                  )
MARIO TURNER,                                     )
                                                  )
       Defendant.                                 )

               INFORMATION CONCERNING PRIOR CONVICTIONS

       Pursuant to 21 U.S.C. § 851, the United States of America, by Douglas J. Quivey,

Acting United States Attorney for the Central District of Illinois, and Rachel E. Ritzer,

Assistant United States Attorney, respectfully notifies the Court that it intends to rely

on the following prior convictions of the defendant as a basis for an increased

punishment in this case.

       Counts 1 - 3 of the Indictment charge distribution of heroin, in violation of Title

21, United States Code, Section 841(a)(1) and 841(b)(1)(c). Prior to the filing of this

Indictment, the defendant was convicted of the following final felony drug offenses:

       1)     Manufacture/Delivery of a Controlled Substance, Champaign County,
              Illinois, Circuit Court case number 2008-CF-1364. Defendant pleaded
              guilty to this offense on December 13, 2010, and was sentenced to 24
              months of probation. Defendant subsequently violated this term of
              probation and was sentenced to serve six (6) years of imprisonment at the
              Illinois Department of Corrections.
       2)     Possession with Intent to Delivery a Controlled Substance, Champaign
              County, Illinois, Circuit Court case number 2009-CF-48. Defendant
              pleaded guilty to this offense on February 4, 2013, and was sentenced to
              serve four (4) years of imprisonment at the Illinois Department of
              Corrections.
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       Accordingly, the United States gives notice, pursuant to 21 U.S.C. § 841(b)(1)(c)

and § 851, that, with a final prior conviction for a felony drug offense, upon a conviction

of Counts 1 and/or 2 and/or 3 of the Indictment, the defendant shall be sentenced to a

term of imprisonment of not more than thirty (30) years, a fine not to exceed

$2,000,000.00, a term of supervised release of at least six (6) years following

imprisonment, and a mandatory $100 special assessment.

       Pursuant to 21 U.S.C. § 851(b), any challenge to the prior convictions that is not

made before sentence is imposed may not thereafter be raised to attack the sentence.

Pursuant to 21 U.S.C. § 851(c), if the defendant denies any allegation of this information

of prior convictions or claims that any conviction alleged is invalid, he should file a

written response to the information.

                                          Respectfully submitted,

                                          DOUGLAS J. QUIVEY
                                          ACTING UNITED STATES ATTORNEY

                                          s/ Rachel E. Ritzer
                                          Rachel E. Ritzer, Illinois Bar No. 6309905
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                              CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing

to counsel of record.


                                          s/ Rachel E. Ritzer
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